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 1
     Kirk. J. Anderson (SBN 289043)
     kanderson@budolaw.com
 2   BUDO LAW P.C.
 3
     5610 Ward Rd., Suite #300
     Arvada, CO 80002
 4   (720) 225-9440 (Phone)
 5   (720) 225-9331 (Fax)

 6   Attorneys for Plaintiff Symbology Innovations, LLC
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 8                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9

10   SYMBOLOGY INNOVATIONS, LLC,                 CASE NO.: '19CV2487 AJB BLM
11                      Plaintiff,
                                                 COMPLAINT FOR PATENT
12   v.                                          INFRINGEMENT
13
     IKEA NORTH AMERICAN
14   SERVICES, LLC AND IKEA US                   JURY TRIAL DEMANDED
     RETAIL LLC,
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                        Defendants.
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                            COMPLAINT FOR PATENT INFRINGEMENT
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 1               ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
 2          1.    Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and
 3   through its counsel, hereby brings this action for patent infringement against IKEA
 4   North American Services, LLC and IKEA US Retail LLC (“IKEA” or “Defendant”)
 5   alleging infringement of the following validly issued patent (the “Patent-in-Suit”): U.S.
 6   Patent No. 8,424,752, titled “System and method for presenting information about an
 7   object on a portable electronic device” (the “’752 Patent”), attached hereto as Exhibit
 8   A.
 9                               NATURE OF THE ACTION
10          2.    This is an action for patent infringement arising under the United States
11   Patent Act 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
12                                         PARTIES
13          3.    Plaintiff Symbology Innovations, LLC is a Texas company with its
14   principal place of business at 1400 Preston Road, Suite 400, Plano, TX 75093.
15          4.    On information and belief, Defendant IKEA North American Services,
16   LLC is a company with regular and established places of business in California and
17   may be served through its registered agent C T Corporation System at 818 Seventh St.,
18   Suite 930, Los Angeles, CA 90017.
19          5.    On information and belief, Defendant IKEA US Retail LLC is a company
20   with regular and established places of business in California and may be served through
21   its registered agent C T Corporation System at 818 Seventh St., Suite 930, Los Angeles,
22   CA 90017.
23                              JURISDICTION AND VENUE
24          6.    This lawsuit is a civil action for patent infringement arising under the
25   patent laws of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter
26   jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.
27          7.    The Court has personal jurisdiction over Defendant for the following
28   reasons: (1) Defendant is present within or has minimum contacts within the State of
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 1   California and the Southern District of California; (2) Defendant has purposefully
 2   availed itself of the privileges of conducting business in the State of California and this
 3   district; (3) Defendant has sought protection and benefit from the laws of the State of
 4   California; and (4) Defendant regularly conducts business within the State of California
 5   and within this district, and Plaintiff’s cause of action arises directly from Defendant’s
 6   business contacts and other activities in the State of California and in this district.
 7           8.       Defendant, directly and/or through intermediaries, ships, distributes, uses,
 8   offers for sale, sells, and/or advertises products and services in the United States, the
 9   State of California, and this district including but not limited to the products which
10   contain the infringing ’752 Patent systems and methods as detailed below. Upon
11   information and belief, Defendant has committed patent infringement in the State of
12   California and in this district; Defendant solicits and has solicited customers in the State
13   of California and in this district; and Defendant has paying customers that are residents
14   of the State of California and this district and that use and have used Defendant’s
15   products and services in the State of California and in this district.
16           9.       Venue is proper in the Southern District of California pursuant to 28
17   U.S.C. §§ 1400(b). Defendant is incorporated in this district, has transacted business in
18   this district, and has directly and/or indirectly committed acts of patent infringement in
19   this district.
20                                         PATENT-IN-SUIT
21           10.      The Patent-in-Suit teaches systems and methods for enabling a portable
22   electronic device (e.g., smartphone) to retrieve information about an object when the
23   object’s symbology (e.g. QR code) is detected.
24           11.      The invention disclosed in the Patent-in-Suit discloses inventive concepts
25   that represent significant improvements in the art and are not mere routine or
26   conventional uses of computer components.
27                                     ACCUSED PRODUCTS
28           12.      Defendant makes, uses, offers for sale and sells in the U.S. products,
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 1   systems, and/or services that infringe the Patent-in-Suit, including, but not limited to
 2   certain products and services implementing QR code functionality as described in the
 3   Patent-in-Suit (collectively, the “Accused Products”).
 4                                         COUNT I
 5                        (Infringement of U.S. Patent No. 8,424,752)
 6          13.   Plaintiff incorporates by reference the allegations of paragraphs 1-12, the
 7   same as if set forth herein.
 8          14.   The ’752 Patent is valid, enforceable, and was duly and legally issued by
 9   the United States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752
10   Patent is presumed valid and enforceable. See 35 U.S.C. § 282.
11          15.   Plaintiff is the owner by assignment of the ’752 Patent and possesses all
12   rights of recovery under the ’752 Patent, including the exclusive right enforce the ’752
13   Patent and pursue lawsuits against infringers.
14          16.   Without a license or permission from Symbology, Defendant has infringed
15   and continues to infringe on one or more claims of the ’752 Patent—directly,
16   contributorily, and/or by inducement—by importing, making, using, offering for sale,
17   or selling products and devices that embody the patented invention, including, without
18   limitation, one or more of the patented ’752 systems and methods, in violation of 35
19   U.S.C. § 271.
20          Direct Infringement
21          17.   Defendant has been and now is directly infringing by, among other things,
22   practicing all of the steps of the ’752 Patent, for example, through internal testing,
23   quality assurance, research and development, and troubleshooting. See Joy Techs., Inc.
24   v. Flakt, Inc., 6 F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271 (2006). For
25   instance, Defendant has directly infringed the Patent-in-Suit by testing, configuring,
26   and troubleshooting the functionality of QR codes on its products and services.
27          18.   By way of example, Defendant has infringed and continues to infringe at
28   least one or more claims of the ’752 Patent, including at least Claim 1. Attached hereto
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 1   as Exhibit B is an exemplary claim chart detailing representative infringement of claim
 2   1 of the Patent-in-Suit.
 3          Induced Infringement
 4          19.   Defendant has been and now is indirectly infringing by way of inducing
 5   infringement by others and/or contributing to the infringement by others of the ’752
 6   Patent in this state, judicial District, and elsewhere in the United States, by, among
 7   other things, making, using, offering for sale, and/or selling, without license or
 8   authority, products affixed with QR codes that require the accused technology for
 9   intended functionality, testing, configuration, troubleshooting, and other utilization.
10   End users include, for example, customers, customers’ customers, retail store
11   personnel, and other third-parties.
12          20.   Defendant took active steps to induce infringement, such as advertising an
13   infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer
14   Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from
15   distribution of an article in commerce that the distributor intended the article to be used
16   to infringe another's patent, and so may justly be held liable for that infringement").
17          21.   The allegations herein support a finding that Defendant induced
18   infringement of the ’752 Patent. See Power Integrations v. Fairchild Semiconductor,
19   843 F.3d 1315, 1335 (Fed. Cir. 2016)(“[W]e have affirmed induced infringement
20   verdicts based on circumstantial evidence of inducement [e.g., advertisements, user
21   manuals] directed to a class of direct infringers [e.g., customers, end users] without
22   requiring hard proof that any individual third-party direct infringer was actually
23   persuaded to infringe by that material.”).
24          Contributory Infringement
25          22.   On information and belief, Defendant contributorily infringes on
26   Symbology’s ’752 Patent. Defendant knew or should have known, at the very least with
27   the filing of this complaint as a result of its freedom to operate analyses, that third
28   parties, such as its customers, would infringe the ’752 Patent by implementing
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 1   Defendant’s QR code technology.
 2            23.   On information and belief, Defendant’s implementation of the accused
 3   functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v.
 4   Gateway, Inc., 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-
 5   infringing use” element of a contributory infringement claim applies to an infringing
 6   feature or component, and that an “infringing feature” of a product does not escape
 7   liability simply because the product as a whole has other non-infringing uses).
 8            Willful Infringement
 9            24.   On information and belief, the infringement of the ’752 Patent by
10   Defendant has been and continues to be willful. Defendant has had actual knowledge
11   of Symbology’s rights in the ’752 Patent and details of Defendant’s infringement based
12   on at least the filing and service of this complaint. Additionally, Defendant had
13   knowledge of the ’752 Patent and its infringement in the course of Defendant’s due
14   diligence and freedom to operate analyses.
15            Plaintiff Suffered Damages
16            25.   Defendant’s acts of infringement of the ’752 Patent have caused damage
17   to Symbology, and Symbology is entitled to recover from Defendant the damages
18   sustained as a result of Defendant’s wrongful acts in an amount subject to proof at trial
19   pursuant to 35 U.S.C. § 271. Defendant’s infringement of Symbology’s exclusive
20   rights under the ’752 Patent will continue to damage Symbology causing it irreparable
21   harm for which there is no adequate remedy at law, warranting an injunction from the
22   Court.
23                                   REQUEST FOR RELIEF
24            26.   Symbology incorporates each of the allegations in the paragraphs above
25   and respectfully asks the Court to:
26            (a)   enter a judgment that Defendant has directly infringed, contributorily
27            infringed, and/or induced infringement of one or more claims of each of the ’752
28            Patent;
                                                 5
                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1        (b)   enter a judgment awarding Symbology all damages adequate to
 2        compensate it for Defendant’s infringement of, direct or contributory, or
 3        inducement to infringe, the including all pre-judgment and post-judgment
 4        interest at the maximum rate permitted by law;
 5        (c)   enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
 6        Defendant’s willful infringement of the ’752 Patent
 7        (d)   issue a preliminary injunction and thereafter a permanent injunction
 8        enjoining and restraining Defendant, its directors, officers, agents, servants,
 9        employees, and those acting in privity or in concert with them, and their
10        subsidiaries, divisions, successors, and assigns, from further acts of
11        infringement, contributory infringement, or inducement of infringement of the
12        ’752 Patent;
13        (e)   enter a judgment requiring Defendant to pay the costs of this action,
14        including all disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285,
15        together with prejudgment interest; and
16        (f)   award Symbology all other relief that the Court may deem just and proper.
17

18   Dated: December 27, 2019         Respectfully submitted,
19                                    __/s/ Kirk J. Anderson_______
20
                                      Kirk. J. Anderson (SBN 289043)
                                      kanderson@budolaw.com
21                                    BUDO LAW P.C.
22                                    5610 Ward Rd., Suite #300
                                      Arvada, CO 80002
23                                    (720) 225-9440 (Phone)
24                                    (720) 225-9331 (Fax)

25
                                      Attorney(s) for Plaintiff Symbology
26                                    Innovations, LLC
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                             COMPLAINT FOR PATENT INFRINGEMENT
